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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                :
UNITED STATES OF AMERICA,                       :       CASE NO. 1:04CR580
                                                :
                Plaintiff,                      :
                                                :
vs.                                             :       OPINION AND MEMORANDUM
                                                :       [Resolving Doc. No. 204]
NATHANIEL GRAY, et al.,                         :
                                                :
                Defendants.                     :
                                                :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        Pending before the Court is Defendant Nathaniel Gray’s Motion to Inspect Government

Suppressed Applications, Orders, and Intercepts. [Doc. 204]. The Government has not filed a

memorandum opposing Gray’s Motion to Inspect. Gray asks to inspect 60 days’ worth of various

intercepted communications, surveillance applications, and orders that the Government sealed. The

Government self-sealed the materials after discovering defects in the Government’s applications.

        For the reasons discussed below, the Court DENIES Gray’s Motion to Inspect.1/

                                                I. Background

        Gray is one of the six defendants named in the superseding indictment. Gray faces charges of

Hobbs Act conspiracy, Hobbs Act violations, and honest services mail and wire fraud. Gray also faces



        1/
           Defendant Monique McGilbra raised many of the same arguments as Gray in her Motion to Inspect “Self-
Suppressed” Wiretaps, Applications, and Orders. [Doc. 145]. The Government opposed McGilbra’s Motion to Inspect
[Doc. 183], and McGilbra replied. [Doc. 252]. McGilbra has since pled guilty and withdrawn her Motion to Inspect.



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a RICO conspiracy charge and a charge of evasion of payment of income taxes.

        The Government expects to use communications obtained through wiretaps and other electronic

surveillance as evidence at trial. On January 28, 2005, the Government informed the defendants by letter

that there were legal defects in certain of its surveillance applications. The Government wrote:

                In this multi district investigation, there were two separate periods of court
                ordered electronic surveillance. With respect to the first 90-day period
                of court ordered interceptions only, please be advised that the last 60 days
                of wiretap evidence has been self-suppressed by the United States due to
                the fact that there was a technical defect in certain limited applications
                made to the Court. The defect was that, while all proper executive branch
                approvals had been obtained for the original court ordered surveillance,
                two 30-day renewal applications were presented to the court and the
                court made its probable cause determination without prior executive
                branch approval from the proper Department of Justice official in
                Washington, D.C.

[Doc. 183 at 3].

        The Government acknowledges that the defects in the applications rendered the surveillance during

the 60 day period illegal. The Government says that neither the prosecutors nor any investigative agents

now assigned to the case reviewed any of the communications intercepted during the last 60 days of the

surveillance period. The Government disclosed its error to the Court and sealed all such information and

materials. The Government then removed from the case all agents and counsel who reviewed any of the

sealed materials. The Government obtained new court authorization to conduct electronic surveillance after

the 60 day period ended.

        Defendant Gray now seeks to review all of the sealed materials.

                                                II. Analysis



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        Defendant Gray offers five arguments in support of his motion: (1) the materialis discoverable under

Brady v. Maryland, 373 U.S. 83 (1963); (2) the material is discoverable under Fed. R. Crim. P. 16; (3)

the material is discoverable under various judicial exceptions to Title III; (4) 18 U.S.C. § 2518(8)(d)

permits the disclosure; and (5) the Jencks Act, 18 U.S.C. § 3500, requires disclosure of the recorded

statements of Government witnesses.

A. Title III Prohibitions

        Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520,

prohibits the use or derivative use of unlawful wiretap information by anyone in any court proceeding.

Specifically, section 2515 provides:

                Whenever any wire or oral communication has been intercepted, no part
                of the contents of such communication and no evidence derived therefrom
                may be received in any trial, hearing, or other proceeding in or before any
                court . . . if the disclosure of that information would be in violation of this
                chapter.

18 U.S.C. § 2515. Section 2511(1) establishes that the intentional use or disclosure of unlawfully obtained

wiretap information is a felony punishable by up to five years’ imprisonment. Id. §§ 2511(1)(c), (d). The

parties agree that the Government unlawfully obtained the disputed intercepts.

        The prohibitions apply equally to the prosecution and the defense. Read together, the statutes

protect the legitimate “privacy of wire and oral communications” and unlawfully surveilled individuals, as

well as “the integrity of court and administrative proceedings.” Gelbard v. United States, 408 U.S. 41,

51 (1972).

B. Brady Material



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        Gray argues that the sealed tapes are discoverable under Brady v. Maryland, 373 U.S. 83 (1963).

The Court disagrees. Brady generally requires the Government to disclose to the defendants material that

is exculpatory or evidence that is favorable to them. Brady does not trump all other evidentiary

considerations. Regarding unlawful surveillance, section 2515 of Title III prohibits both the prosecution

and the defense from using any portion of the intercepted communications, and all evidence obtained

therefrom, at trial. See 18 U.S.C. § 2515. Title III also prohibits the disclosure and use of unlawful

surveillance in most instances. See id. § 2511. As the disputed wiretaps were undoubtedly unlawful, Title

III bars their use.

        Additionally, even if Title III did not apply, the wiretap information would be hearsay under Rule

801(c) of the Federal Rules of Evidence, and could not be offered into evidence. Rule 801(c) defines

hearsay as “a statement, other than one made by the declarant while testifying at the trial or hearing, offered

in evidence to prove the truth of the matter asserted.” Because the recorded statements occurred out of

court, the defendants could not use them to establish any matter stated therein. Even if the wiretaps

contained exculpatory material, the defendants could not use them as evidence at trial. Additionally, Gray

cannot show that examining the wiretaps is essential to his defense because the wiretaps captured

conversations in which he participated. It follows that the wiretaps cannot contain any information Gray

does not already know.

        It is true that Brady gives criminal defendants the right to access inadmissible materials that are

reasonably likely to lead to the later discovery of admissible exculpatory materials. See United States v.

Bergonzi, 216 F.R.D. 487, 499 (N.D. Cal. 2003). But Brady does not provide unfettered access to the



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Government’s files. There is no general constitutional right to discovery in a criminal case, and Brady did

not create one. See Weatherford v. Bursey, 429 U.S. 545, 559 (1977). While Brady requires the

Government to disclose material favorable to the accused, “the government typically is the sole judge of

what evidence in its possession is subject to disclosure.” United States v. Presser, 844 F.2d 1275, 1281

(6th Cir. 1988). Brady requests must be specific, not vague. Where, as here, the defendant fails to

demonstrate that Government materials contain material evidence, the Court need not order discovery of

the material. See United States v. Driscoll, 970 F.2d 1472, 1482 (6th Cir. 1992).

C. Rule 16

         Gray argues that Rule 16 of the Federal Rules of Criminal Procedure requires the Government to

make the sealed wiretaps available. Rule 16(a)(1)(B) states, in part:2/

                  Upon a defendant’s request, the government must disclose to the defendant,
                  and make available for inspection, copying or photographing, all of the following:

                            (1) any relevant written or recorded statement by the defendant if:

                                     !        the statement is within the government’s possession,
                                              custody, or control; and

                                     !        the attorney for the government knows – or through
                                              due diligence could know – that the statement exists.

         Gray cites Lanier v. Bryant, 332 F.3d 999 (6th Cir. 2003), for the proposition that Title III does

not prevent the Government from providing the tapes as Rule 16 disclosures. In Lanier, the Sixth Circuit

affirmed summary judgment against a federal prisoner in his lawsuit against various government officials



         2/
            The other provisions of Rule 16(a)(1)(B), governing a defendant’s statements under interrogation or to a grand
jury, do not apply here.



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under 42 U.S.C. § 1983 and Title III. The prisoner alleged that the officials illegally intercepted telephone

communications between the prisoner and other individuals, and used the intercepts to investigate him. The

prisoner argued that the disclosure of the wiretaps in response to his Rule 16 request violated section 2511.

The Sixth Circuit held “any disclosure made pursuant to Rule 16 could not constitute an illegal disclosure

” under Title III. Id. at 1005. In reaching this decision, the Sixth Circuit relied on the fact that the prisoner

requested the production of the wiretaps.

        Lanier is distinguishable from the present case because it involved an action by a federal prisoner

for violations of Title III, and not a criminal prosecution. Additionally, in Lanier, the Government used the

illegal intercepts in its investigation of the prisoner, and prosecutors apparently reviewed and knew the

contents of the recordings. Here, the Government took extensive measures to maintain the confidentiality

of the illegal recordings and has not used the recordings in conducting its investigation.

        Lanier’s holding also runs contrary to the Sixth Circuit’s earlier decision in United States v.

Wuliger, 981 F.2d 1497 (6th Cir. 1992). Lanier implies that a defendant’s consent to disclosure of illegal

wiretaps renders such disclosure legal under Title III. In Wuliger, the Sixth Circuit reversed a defendant’s

conviction for using illegal wiretaps in violation of 18 U.S.C. § 2511(1)(d) where the district court did not

properly instruct the jury on the issue of intent. The defendant also argued that it is not a crime under Title

III “for one to use or disclose information from an illegal intercept where one of the parties consents to the

disclosure.” Id. at 1508. The Sixth Circuit disagreed, finding that “[t]he statute does not expressly provide

a ‘consent to use’ exception to 18 U.S.C. § 2511(d).” Id.

        Under Wuliger, then, a disclosure of illegal intercepts is illegal even where the victim of the intercept



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consents to the disclosure. Lanier presumably would permit disclosure where a criminal defendant

consents to disclosure under Rule 16. Because one Sixth Circuit panel cannot overrule an earlier panel,

this Court follows Wuliger. See Ahearn ex rel. NLRB v. Jackson Hosp. Corp., 351 F.3d 226, 235 (6th

Cir. 2003). Gray’s consent to disclosure under Rule 16 would not make the disclosure legal under Title

III.

        Regardless of the legality of a Rule 16 disclosure, Rule 16 does not entitle Gray to discovery of the

sealed wiretaps in this case. Assuming that the sealed recorded statements are in the Government’s

possession and control, Gray does not demonstrate the existence of any relevant written or recorded

statement. Gray does not point to any specific communications from the unlawful 60 day surveillance

period at all.

        Nor does Defendant Gray demonstrate that the Government knows or could know that any

relevant statements exist. The Government denies any such knowledge. Because Title III prohibits the

Government from using the unlawful intercepts for any purpose, the Government cannot know through due

diligence whether any relevant statements by Gray exists. 18 U.S.C. § 2511(1)(d). Rule 16 thus does not

entitle Gray to discovery.

D. Judicial Exceptions To Title III

        Gray argues that judicially-created exceptions to Title III permit discovery of the disputed wiretaps.

Specifically, he argues for application of the impeachment, clean hands, defense, and adjudication

exceptions. The Court disagrees.

        1. Impeachment Exception



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         “[W]hether or not an impeachment exception [to Title III] exists at all is an open question in this

Circuit.” Wuliger, 981 F.2d at 1506. Gray cites Nix v. O’Malley, No. 97-4086/97-4165, 1998 U.S.

App. LEXIS 37797, at *25 (6th Cir. Nov. 16, 1998), for the proposition that the Sixth Circuit permits use

of unlawful wiretaps for impeachment of Government witnesses. [Doc. 204 at 4]. Gray failed to quote the

entire passage, which reads: “despite the language of Title III, we have permitted the use of illegally

obtained wiretap evidence for impeachment, but we have limited this to use by the government in

criminal cases.” Id. (emphasis added).

        The impeachment exception does not entitle the defendant to the requested discovery.

        2. Clean Hands Exception

        Defendant Gray invites the Court to apply the clean hands doctrine announced in United States

v. Murdock 63 F.3d 1391 (6th Cir. 1995). The Court declines the invitation.

        In Murdock, the Sixth Circuit ruled that, where the Government did not commit the unlawful

interceptions, the Government could use the intercepts as evidence at trial despite the prohibitions of Title

III. The defendant’s wife made illegal recordings of conversations implicating the defendant in a bribery

scheme. The wife mailed the recordings to another individual, who in turn sent the recordings to a

newspaper. The Government read of the recordings in the newspaper, and obtained them through

subpoena. The district court admitted the tapes under the clean hands exception, and the Sixth Circuit

affirmed. The Sixth Circuit emphasized that the clean hands exception to 18 U.S.C. § 2515 allowed the

Government to use an illegal recording “that literally falls into its hands.” Murdock, 63 F.3d at 1403. The

privacy concerns of Title III were not a roadblock to using the recordings because the newspaper already



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published the details of the bribery scheme.

        Gray hopes to take Murdock one step further. Gray agrees that the clean hands doctrine does not

permit the Government to use the recordings because the Government obtained them illegally. However,

the defendant says that if the Government gave him the recordings, the clean hands doctrine would enable

him to use them at trial. Neither the parties nor the Court can identify any case extending the clean hands

exception in this way. Indeed, a more recent Sixth Circuit decision (upon which Gray relies) characterizes

Murdock’s holding as “recognizing a ‘clean hands’ exception that permits the government to use the

contents of illegal interceptions if it played no role in the interception . . . . ” Nix, 1998 U.S. App. LEXIS

37797, at *25 (emphasis added).

        The clean hands exception does not entitle the defendants to discovery.

        3. The Defense And Adjudication Exceptions

        Gray argues that two more exceptions apply. First, Gray discusses the so-called defense exception

announced in Nix. There, the Sixth Circuit limited the defense exception to circumstances not present here:

                We hold that, at least here, where a plaintiff filed a complaint alleging
                violations of wiretap laws, and were the district court denied plaintiff’s
                motion for a protective order foreclosing use of the tapes in the defense,
                the defendant may disclose to his attorneys the contents of intercepted
                communications, and the defendant and attorney may use the contents to
                prepare a defense to the wiretap charges.

Id. at *27. Here, the Government does not charge the defendants with violations of wiretap laws. This

fact alone prevents Gray from relying on the defense exception. See Smoot v. United Transp. Union,

246 F.3d 633, 646 (6th Cir. 2001) (holding that the Nix defense exception did not apply where party “was

not defending against charges brought under [Title III]”). Additionally, the defendants are already free to


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 disclose the contents of any of their communications to their attorneys. The defense exception simply does

 not require the Government to disclose the sealed intercepts.

         The adjudication exception does not benefit Gray either. In Nix, the Sixth Circuit described the

 adjudication exception as permitting “disclosure of intercepted material to a court for admissibility

 determination and to a court or jury for a resolution of illegality.” Nix, 1998 U.S. App. LEXIS 37797, at

 *29. In this case, it is not necessary to review the intercepted materials to determine admissibility or

 illegality. As already discussed, under Title III, the intercepts are not admissible in court. They are likely

 also not admissible under the Federal Rules of Evidence. Nor is the illegality of the interception an issue

 – the Government admits to the illegality of the intercepts. Finally, like the defense exception, the

 adjudication exception only applies where the Government charges the defendants with violating Title III.

 Smoot, 246 F.3d at 646.

 E. Disclosure Under 18 U.S.C. § 2518(8)(d)

         Title III, section 2518(8)(d) requires the Government to provide an inventory of unlawful

 interceptions to interceptees within 90 days of the interception. Additionally,

                 The judge, upon the filing of a motion, may in his discretion make available
                 to such person or his counsel for inspection such portions of the
                 intercepted communications, applications and orders as the judge
                 determines to be in the interest of justice.

 Gray argues that this section allows the Court to disclose the intercepted communications as a matter of

 discretion. There is some support for his position. See Stoddard v. United States, 710 F.2d 21, 22-23

 (2d Cir. 1983) (“a district court may, as a matter of discretion order disclosure of ‘intercepted

 communications, applications, and orders as the judge determines to be in the interest of justice”) (quoting


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 18 U.S.C. § 2518(8)(d)).

         This Court previously granted the defendants access to certain wiretap applications and orders in

 this case, over the Government’s objection. In light of (1) the privacy concerns and legal prohibitions of

 Title III, (2) the dubious admissibility of the communications, (3) the risk of taint to the Government’s case,

 and (4) the fact that the Government cannot examine or use the illegally intercepted communications against

 the defendants, the Court finds that keeping the intercepts sealed best serves the interests of justice.

 F. The Jencks Act

         Gray argues for disclosure under the Jencks Act, 18 U.S.C. § 3500. The Jencks Act provides:

                  (a) In any criminal prosecution brought by the United States, no statement
                  or report in the possession of the United States which was made by a
                  Government witness or prospective Government witness (other than the
                  defendant) shall be the subject of subpena [sic], discovery, or inspection
                  until said witness has testified on direct examination in the trial of the case.

                  (b) After a witness called by the United States has testified on direct
                  examination, the court shall, on motion of the defendant, order the United
                  States to produce any statement (as hereinafter defined) of the witness in
                  the possession of the United States which relates to the subject matter as
                  to which the witness has testified. If the entire contents of any such
                  statement relate to the subject matter of the testimony of the witness, the
                  court shall order it to be delivered directly to the defendant for his
                  examination and use.

 18 U.S.C. § 3500(a), (b). The purpose of the Jencks Act is to enable the defense to “conduct its cross

 examination in light of all facts known to the prosecutor . . . . ” United States v. Head, 586 F.2d 508, 512

 (5th Cir. 1978). The Jencks Act accomplishes this by making “any existing prior statements made by a

 government witness equally available to the defense and the prosecution.” United States v. Bernard, 625

 F.2d 854, 859 (9th Cir. 1980).


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         The Jencks Act does not entitle the defendants to discovery of any statements by Government

 witnesses until after the witnesses testify. The “clear and consistent rule” is that “the government may not

 be compelled to disclose Jencks Act material before trial.” United States v. Presser, 844 F.2d 1275,

 1283 (6th Cir. 1988). At trial, the defendants may move for an order requiring the Government to produce

 the witnesses’ statements.

         The Government assures the Court that it “is well aware of its continuing obligations” under the

 Jencks Act, and that it will disclose the necessary information at the appropriate time. [Doc. 268]. The

 Court declines to order a pre-emptive Jencks Act disclosure.

         Although the parties do not substantively address the Jencks Act disclosure of the unlawful

 intercepts at trial, the Court anticipates disagreement as to whether the Act trumps the Title III prohibitions.

 This appears to be a question of first impression. According to the Sixth Circuit:

                  [T]he [Jencks] Act was designed to prevent defendants from engaging in
                  “blind fishing expeditions” through the government’s files, but at the same
                  time, to assure defendants of their Sixth Amendment right to confront their
                  accusers by compelling the government to produce statements useful for
                  impeachment of government witnesses.

 Presser, 844 F.2d at 1283 (citation omitted). In this case, disclosure of the unlawful intercepts would not

 serve the purpose of the Jencks Act. Title III, section 2515 prohibits the parties from using the unlawful

 intercepts at trial. Disclosing the unlawful wiretaps would thus not “produce statements useful for

 impeachment of government witnesses.” Id. Because the prosecution in this case has not reviewed the

 intercepts, keeping the intercepts sealed would not prevent the defense from “conduct[ing] its cross

 examination in light of all facts known to the prosecutor . . . . ” Head, 586 F.2d at 512.


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         As previously discussed, the impeachment exception to Title III does not permit the defendants to

 use the unlawful intercepts for impeachment purposes at trial. Nix, 1998 U.S. App. LEXIS 37797, at

 *25-26. Additionally, the fact that the defendants may consent to the use of the unlawful intercepts at trial

 does not overcome the Title III prohibitions. See Wuliger, 981 F.2d at 1508 (holding that Title III does

 not provide a “consent to use” exception to the prohibition on using unlawful intercepts).

         In light of the clear prohibitions of Title III and the intent behind the Jencks Act, the Government

 is not required to disclose the unlawful intercepts at trial.

                                                 III. Conclusion

         For the reasons stated above, the Court DENIES the Motion to Inspect of Defendant Nathaniel

 Gray. The denial is without prejudice to the defendants’ ability to seek disclosure of the unlawful wiretaps

 to litigate the issue of whether they tainted subsequent stages of the Government’s investigation. The Court

 will address any such motion after trial, and only in the event of a guilty verdict.

         IT IS SO ORDERED.




 Dated: May 9, 2005                                           s/       James S. Gwin
                                                              JAMES S. GWIN
                                                              UNITED STATES DISTRICT JUDGE




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